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                          IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

    LA UNIÓN DEL PUEBLO ENTERO, et al.,             §
                                                    §
                  Plaintiffs,                       §
                                                    §
    V.                                              §
                                                    §
                                                                 Case No. 5:21-cv-00844-XR
    STATE OF TEXAS, et al.,                         §
                                                                        [Lead Case]
                                                    §
                  Defendants.                       §
                                                    §
    HARRIS COUNTY REPUBLICAN PARTY, et              §
    al.,                                            §
                                                    §
                  Intervenor-Defendants.



        LUPE PLAINTIFFS’ MOTION FOR LEAVE TO FILE NUNC PRO TUNC
      LUPE PLAINTIFFS’ UNOPPOSED MOTION FOR ENLARGEMENT OF PAGE
     LIMITATION FOR LUPE PLAINTIFFS’ OPPOSED MOTION TO STRIKE THE
    DECLARATION OF JONATHAN WHITE AND MOTION IN LIMINE TO EXCLUDE
         TESTIMONY ABOUT NON-PUBLIC INFORMATION RELATING TO
       INVESTIGATIONS AND PROSECUTIONS OF ALLEGED VOTER FRAUD

          Plaintiffs La Union del Pueblo Entero, et al. (“Plaintiffs”)1 move the Court for leave to file

nunc pro tunc their Unopposed Motion for Enlargement of Page Limitation and Opposed Motion

to Strike the Declaration of Jonathan White and Motion in Limine to Exclude Testimony About

Non-Public Information Relating to Investigations and Prosecutions of Alleged Voter Fraud. For

the reasons set forth below, Plaintiffs request that the Court accept, one hour after the deadline,

their motions and accompanying documents.




1
 Plaintiffs are La Union del Pueblo Entero, Friendship-West Baptist Church, Southwest Voter Registration
Education Project, Texas Impact, Mexican American Bar Association of Texas, Texas Hispanics Organized
for Political Education, Jolt Action, William C. Velasquez Institute , FIEL Houston Inc., and James Lewin.
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1.       The deadline for motions in limine was September 1, 2023. See August 22, 2023

         Status Conference Hearing at Tr. 29:19-21.

2.       On September 1, 2023, at 11:40 p.m., Plaintiffs began filing their motion and

         multiple exhibits. Plaintiffs logged into the Court’s Electronic Document Filing

         System (“ECF”) and uploaded their documents.

3.       However, after Plaintiffs clicked the button to “submit” the motion, the ECF system

         stalled and then displayed the following error message: “ERROR: Document is

         malformed or contains code which may cause an external action (such as launching

         an application). This PDF document cannot be accepted. Click here for more

         information. If you need further assistance, please contact the court. Error File:

         C:\fakepath\Ex. J – April 27, 2022, Jonathan White Deposition Transcript

         Excerpts.pdf.”

4.       Plaintiffs made several further attempts to file the motion but received the same

         error message. Plaintiffs then scanned the exhibit for any corruption and re-saved

         the document as a PDF.

5.       On the next filing attempts, ECF accepted the re-saved exhibit but rejected another

         exhibit. In total Plaintiffs re-saved three exhibits before successfully filing the

         motion and accompanying document.

6.       As a result, Plaintiffs filed their motion with attachments at 12:51 a.m. on

         September 2, 2023.

7.       Defendants are not prejudiced by the delayed filing of Plaintiffs’ motion and

         Plaintiffs’ delay in filing did not disrupt the Court’s schedule.




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       8.       Given the short and excusable delay in filing, and lack of prejudice to the other

                parties in this matter, Plaintiffs respectfully request that the Court grant leave to

                file nunc pro tunc, their Unopposed Motion for Enlargement of Page Limitation

                and Opposed Motion to Strike the Declaration of Jonathan White and Motion in

                Limine to Exclude Testimony About Non-Public Information Relating to

                Investigations and Prosecutions of Alleged Voter Fraud.

                                              CONCLUSION

       For the reasons stated above, Plaintiffs respectfully request the Court grant their motion for

leave to file nunc pro tunc.



Dated: September 2, 2023                               Respectfully Submitted,

 /s/ Nina Perales                                      /s/ Sean Morales-Doyle
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 Attorneys for Plaintiffs                           FRIENDSHIP-WEST BAPTIST
 LA UNIÓN DEL PUEBLO ENTERO,                        CHURCH, SOUTHWEST, AND
 SOUTHWEST VOTER REGISTRATION                       TEXOMA, TEXAS IMPACT, JAMES
 EDUCATION PROJECT, MEXICAN                         LEWIN
 AMERICAN BAR ASSOCIATION OF
 TEXAS, TEXAS HISPANICS                             *Admitted pro hac vice
 ORGANIZED FOR POLITICAL
 EDUCATION, JOLT ACTION,
 WILLIAM C. VELASQUEZ INSTITUTE,
 FIEL HOUSTON INC
 *Admitted pro hac vice




                             CERTIFICATE OF CONFERENCE

        I hereby certify that, on September 2, 2023, counsel for LUPE Plaintiffs sent an email to

confer with counsel for all parties concerning the subject of the instant motion. Counsel for State

Defendants, Defendant Intervenors and Defendant El Paso County Elections Administrator Lisa

Wise indicated that they are unopposed. Counsel for the remaining parties did not respond before

the filing of this motion.


                                                      /s/ Nina Perales
                                                      Nina Perales




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                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that she electronically submitted a true and

correct copy of the above and foregoing via the Court’s electronic filing system on the 2nd day of

September 2023.

                                                    /s/ Nina Perales
                                                    Nina Perales




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